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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                         Civil No. 0:24-cv-02944-KMM-JFD

 United States of America,

                     Plaintiff,

         v.                                              NOTICE OF APPEARANCE

 1.      Evergreen Recovery Inc.;
 2.      Evergreen Mental Health Services Inc.;
 3.      Ethos Recovery Clinic Inc.
 4.      Second Chances Recovery Housing Inc.;
 5.      Second Chances Sober Living, Inc.;
 6.      David Backus;
 7.      Shawn Grygo; and
 8.      Shantel Magadanz,

                     Defendants.

         PLEASE TAKE NOTICE that Ana H. Voss, Assistant United States Attorney,

hereby notes her appearance as counsel for the United States of America with respect to

the above-referenced matter. This appearance does not waive any defense or service as

required by the Federal Rules of Civil Procedure.

Dated:    August 16, 2024                       ANDREW M. LUGER
                                                United States Attorney

                                                s/ Ana H. Voss
                                                BY: ANA H. VOSS
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